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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF DELAWARE

 RYANAIR DAC,

                        Plaintiff/Counterclaim
                        Defendant,
                                                             C.A. No. 1:20-cv-01191-WCB
                v.

 BOOKING HOLDINGS INC., et al.,

                        Defendants,

                and

 BOOKING.COM B.V.,

                        Counterclaim Plaintiff.



                                       [PROPOSED] ORDER

        This order supplements the previous scheduling orders in this case, Dkt. Nos. 46, 56, 117, 393,

and 397. Pursuant to the June 14, 2024 telephone conference with the Court, the Parties stipulate to

the revised deadlines below:

           Pretrial Item                   Current Deadline                    New Deadline
 Parties exchange exhibit lists and
 deposition designations for
 witnesses to be called by                    June 10, 2024                     No Change
 deposition and exhibit lists.

 Parties provide the court with a
 list of remaining disputes over the
 admissibility of trial exhibits and
 deposition designations and the
 electronic copies of those exhibits
 and deposition designations, after
                                              June 18, 2024                     July 1, 2024
 meeting and conferring to reduce
 the number of disputes.
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           Pretrial Item               Current Deadline         New Deadline
 Parties file joint pretrial
 conference statement, motions in
 limine, jury instructions,               July 1, 2024           No Change
 proposed verdict form, and voir
 dire questions.
 Court conducts an off-the-record
 meeting on trial exhibits and
 deposition designations.            Week of July 8, 2024        No Change
 (by Zoom)

 Final Pretrial Conference          July 8, 2024 at 2:00 p.m.
                                                                 No Change
 (by Zoom)                                    EDT

 Trial                              July 15 – July 19, 2024      No Change


         IT IS SO ORDERED.

SIGNED this _________ day of ________________________, 2024.



                                          WILLIAM C. BRYSON
                                          UNITED STATES CIRCUIT JUDGE




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Dated: June 14, 2024

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